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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON


  ROTHSCHILD PATENT IMAGING LLC,
           Plaintiff,
                                                         Case No. 3:22-cv-01837-SB
               v.
                                                         PATENT CASE
  BEFUNKY, INC.
            Defendant.                                   JURY TRIAL DEMANDED




                           NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Rothschild

Patent Imaging LLC respectfully submits this notice of voluntary dismissal with prejudice of

Defendant BeFunky, Inc.


Dated: February 24, 2023
                                                    Respectfully Submitted


                                                    CONNER G. SPANI
                                                    ATTORNEY FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE
        I hereby certify that, on February 24, 2023, I electronically transmitted the foregoing

 document using the CM/ECF system for filing, which will transmit the document electronically

 to all registered participants as identified on the Notice of Electronic Filing, and paper copies

 have been served on those indicated as non-registered participants.


                                                      /s/
                                                      Conner G. Spani
